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                                                                                                FILED
                                                                                     John E. Triplett, Acting Clerk
                                                                                      United States District Court
                      IN THE UNITED STATES DISTRICT COURT
                                                                                  By casbell at 8:36 am, Aug 04, 2020
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              STATESBORO DIVISION


 DELROY T. BOOTH,

                Plaintiff,                                 CIVIL ACTION NO.: 6:19-cv-69

        v.

 TREVONZA BOBBITT, in his individual and
 official capacities,

                Defendant.


                                           ORDER

       Plaintiff filed this action, asserting claims under 42 U.S.C. § 1983. Doc. 1. This Court

has conducted its frivolity screening under 28 U.S.C. § 1915A and has concluded Plaintiff’s

claim for retaliatory transfer may proceed against Defendant in his individual capacity but not his

official capacity. Therefore, a copy of Plaintiff’s Complaint, doc. 1, a copy of this Order, and a

copy of the undersigned’s Report recommending dismissal of some of Plaintiff’s claims (which

is being issued contemporaneously with this Order) shall be served upon Defendant Trevonza

Bobbitt by the United States Marshal without prepayment of cost. The Court DIRECTS the

Clerk of Court to serve a copy of this Report upon Plaintiff.

       Furthermore, in January 2020, Plaintiff filed a Motion for Request for Ruling on Whether

Plaintiff Can Proceed with the Lawsuit. Doc. 11. Because the Court has conducted frivolity

review and directed service of Plaintiff’s Complaint, the Court DENIES as moot that Motion.

       The Court also provides the following instructions to the parties that will apply to the

remainder of this action.
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                 INSTRUCTIONS TO ALL DEFENDANTS IN THIS ACTION

          Because Plaintiff is proceeding in forma pauperis, the undersigned directs that service be

effected by the United States Marshal. Fed. R. Civ. P. 4(c)(3). In most cases, the marshal will

first mail a copy of the complaint to a defendant by first-class mail and request that the defendant

waive formal service of summons. Fed. R. Civ. P. 4(d); Local R. 4.5. A defendant has a duty to

avoid unnecessary costs of serving the summons, and any defendant who fails to comply with the

request for waiver must bear the costs of personal service unless good cause can be shown for

the failure to return the waiver. Fed. R. Civ. P. 4(d). Generally, a defendant who timely returns

the waiver is not required to answer the complaint until 60 days after the date that the marshal

sent the request for waiver. Fed. R. Civ. P. 4(d)(3).

          IT IS FURTHER ORDERED that any Defendant in this action is granted leave of court

to take the deposition of Plaintiff upon oral examination. Fed. R. Civ. P. 30(a)(2). Defendants

are further advised that the Court’s standard 140-day discovery period will commence upon the

filing of the last answer. Local R. 26.1. Defendants shall ensure that all discovery, including

Plaintiff’s deposition and any other depositions in the case, is completed within that discovery

period.

          If a Defendant take the deposition of any other person, Defendants are ordered to comply

with the requirements of Federal Rule of Civil Procedure 30. As Plaintiff will not likely attend

such a deposition, the Defendant taking the deposition must notify Plaintiff of the deposition and

advise him that he may serve on that Defendant written questions Plaintiff wishes to propound to

the witness, if any. Defendants shall present such questions to the witness in order and word-for-

word during the deposition. Fed. R. Civ. P. 30(c). Plaintiff must submit the questions in a sealed

envelope within 10 days of the notice of deposition.




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                               INSTRUCTIONS TO PLAINTIFF

        Plaintiff is charged with the responsibility of immediately informing this Court and

defense counsel of any change of address during the pendency of this action. Local R. 11.1.

Plaintiff’s failure to notify the Court of a change in his address may result in dismissal of this

case.

        IT IS FURTHER ORDERED that Plaintiff shall serve a copy of every pleading or other

document submitted for consideration by the Court on each Defendant (or, if appearance has

been entered by counsel, the Defendant’s attorney). Plaintiff shall include with the original

paper to be filed with the Clerk of Court a certificate stating the date on which a true and correct

copy of any document was mailed to each Defendant or the Defendant’s counsel. Fed. R. Civ. P.

5. “Every pleading shall contain a caption setting forth the name of the court, the title of the

action, [and] the file number.” Fed. R. Civ. P. 10(a).

        Plaintiff has the responsibility for pursuing this case. For example, if Plaintiff wishes to

obtain facts and information about the case from a Defendant, Plaintiff must initiate discovery.

See generally Fed. R. Civ. P. 26 to Fed. R. Civ. P. 37. The discovery period in this case will

expire 140 days after the filing of the last answer. Local R. 26.1. Plaintiff does not need the

permission of the Court to begin discovery, and Plaintiff should begin discovery promptly and

complete it within this time period. Id. Discovery materials should not be filed routinely with

the Clerk of Court; exceptions include: when the Court directs filing; when a party needs such

materials in connection with a motion or response, and then only to the extent necessary; and

when needed for use at trial. Local R. 26.4.

        Interrogatories are a practical method of discovery for incarcerated persons. See Fed. R.

Civ. P. 33. Interrogatories may be served only on a party to the litigation, and, for the purposes




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of the instant case, this means that interrogatories should not be directed to persons or

organizations who are not named as a defendant. Interrogatories are not to contain more than 25

questions. Fed. R. Civ. P. 33(a). If Plaintiff wishes to propound more than 25 interrogatories to

a party, Plaintiff must have permission of the Court. If Plaintiff wishes to file a motion to

compel, pursuant to Federal Rule of Civil Procedure 37, he should first contact the attorney for

Defendants and try to work out the problem; if Plaintiff proceeds with the motion to compel, he

should also file a statement certifying that he has contacted opposing counsel in a good faith

effort to resolve any dispute about discovery. Fed. R. Civ. P. 26(c), 37(a)(2)(A); Local R. 26.5.

       Plaintiff has the responsibility for maintaining his own records of the case. If Plaintiff

loses papers and needs new copies, he may obtain them from the Clerk of Court at the standard

cost of fifty cents ($.50) per page. If Plaintiff seeks copies, he should request them directly

from the Clerk of Court and is advised that the Court will authorize and require the

collection of fees from his prison trust fund account to pay the cost of the copies at the

aforementioned rate of fifty cents ($.50) per page.

       If Plaintiff does not press his case forward, the court may dismiss it for failure to

prosecute. Fed. R. Civ. P. 41; Local R. 41.1.

       It is Plaintiff’s duty to cooperate in any discovery initiated by a Defendant. Upon no less

than five days’ notice of the scheduled deposition date, Plaintiff must appear and permit his

deposition to be taken and must answer, under oath or solemn affirmation, any question which

seeks information relevant to the subject matter of the pending action.

       As the case progresses, Plaintiff may receive a notice addressed to “counsel of record”

directing the parties to prepare and submit a Joint Status Report and a Proposed Pretrial Order.

A plaintiff proceeding without counsel may prepare and file a unilateral Status Report and is




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required to prepare and file his own version of the Proposed Pretrial Order. A plaintiff who is

incarcerated shall not be required or entitled to attend any status or pretrial conference which

may be scheduled by the Court.

           ADDITIONAL INSTRUCTIONS TO PLAINTIFF REGARDING
        MOTIONS TO DISMISS AND MOTIONS FOR SUMMARY JUDGMENT

       A Defendant may choose to ask the Court to dismiss this action by filing a motion to

dismiss, a motion for summary judgment, or both. Under this Court’s Local Rules, a party

opposing a motion to dismiss shall file and serve his response to the motion within 14 days of its

service. Failure to respond shall indicate that there is no opposition to a motion. Local R. 7.5.

Therefore, if Plaintiff fails to respond to a motion to dismiss, the Court will assume that he does

not oppose the Defendant’s motion. Plaintiff’s case may be dismissed for lack of prosecution if

Plaintiff fails to respond to a motion to dismiss.

       Plaintiff’s response to a motion for summary judgment must be filed within 21 days after

service of the motion. Local R. 7.5, 56.1. The failure to respond to such a motion shall indicate

that there is no opposition to the motion. Furthermore, each material fact set forth in a

Defendant’s statement of material facts will be deemed admitted unless specifically controverted

by an opposition statement. If a Defendant files a motion for summary judgment, Plaintiff will

have the burden of establishing the existence of a genuine dispute as to any material fact in this

case. That burden cannot be met by reliance on the conclusory allegations contained within the

complaint. If a Defendant’s motion for summary judgment is supported by affidavit, Plaintiff

must file counter-affidavits if he wants to contest Defendant’s statement of the facts. If Plaintiff

fails to file opposing affidavits setting forth specific facts showing that there is a genuine dispute

for trial, any factual assertions made in the Defendant’s affidavits will be accepted as true and




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summary judgment may be entered against Plaintiff pursuant to Federal Rule of Civil Procedure

56.

       SO ORDERED, this 4th day of August, 2020.




                                    ____________________________________
                                    BENJAMIN W. CHEESBRO
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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